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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION OF                                  MASTER DOCKET
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                                   18-MD-2865 (LAK)
SCHEME LITIGATION

This document relates to case no. 18-CV-05053
(LAK).


                            DECLARATION OF SARAH L. CAVE

        I, Sarah L. Cave, hereby declare as follows:

        1.     I am a partner at Hughes Hubbard & Reed LLP, counsel for Plaintiff-

Counterclaim-Defendant Skatteforvaltningen (“SKAT”) in this action. I am fully familiar with

the matters set forth in this Declaration.

        2.     I submit this Declaration in support of SKAT’s Motion to Dismiss the Amended

Counterclaims of Defendants-Counterclaimants The Goldstein Law Group PC 401(K) Profit

Sharing Plan and Sheldon Goldstein.

        3.     Attached hereto as “Exhibit 1” is a true and correct copy of Defendants The

Goldstein Law Group PC 401(K) Profit Sharing Plan’s and Sheldon Goldstein’s Amended

Answer, Affirmative Defenses, and Counterclaims Against Skatteforvaltningen and Third-Party

Complaint Against ED&F Man Capital Markets, Ltd, No. 18-MD-2685 (LAK), ECF No. 101.

        4.     Attached hereto as “Exhibit 2” is a true and correct copy of the SKAT’s

Complaint against The Goldstein Law Group PC 401(K) Profit Sharing Plan and Sheldon

Goldstein, No. 1:18-cv-05053 (LAK), ECF No. 1.
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       5.     Attached hereto as “Exhibit 3” is a true and correct copy of the Court’s Pretrial

Order No. 2, No. 1:18-cv-04047 (LAK), ECF No. 30.

       6.     Attached hereto as “Exhibit 4” is a true and correct copy of the Notice of

Consolidated Defendants’ Joint Motion to Dismiss the Complaints Pursuant to Fed. R. Civ P.

12(b)(1), 12(b)(6) and 9(b), No. 1:18-cv-04047 (LAK), ECF No. 34.

       7.     Attached hereto as “Exhibit 5” is a true and correct copy of the Consolidated

Defendants’ Memorandum of Law in Support of Their Joint Motion to Dismiss the Complaints

Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(6) and 9(b), No. 1:18-cv-04047

(LAK), ECF No. 35.

       I, Sarah L. Cave, hereby declare under penalty of perjury that the foregoing in true and

correct.

Dated: New York, New York
       May 6, 2019



                                                         /s/ Sarah L. Cave
                                                             Sarah L. Cave




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